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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-680V
                                     Filed: March 28, 2017
                                         UNPUBLISHED

****************************
VIRGINIA A. CALFEE,                   *
                                      *
                    Petitioner,       *       Joint Stipulation on Damages;
v.                                    *       Influenza;
                                      *       Shoulder Injury; SIRVA;
SECRETARY OF HEALTH                   *       Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                   *
                                      *
                    Respondent.       *
                                      *
****************************
Elizabeth Martin Muldowney, Rawls, McNelis & Mitchell, PC, Richmond, VA, for
petitioner.
Gordon Elliot Shemin, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

        On June 9, 2016, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a shoulder injury caused by her September
19, 2014 influenza vaccination. Petition at 1; Stipulation, filed March 28, 2017, at ¶ 4.
Petitioner further alleges that she experienced residual effects of her injury for more
than six months and that there has been no prior award or settlement of a civil action for
damages as a result of her condition. Petition at 7; Stipulation at ¶¶ 4-5. “Respondent
denies that the flu immunization caused any injury to petitioner, and further denies that
petitioner suffered the residual effects of the alleged vaccine-related injury for more than
six months. ” Stipulation at ¶ 6.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on March 28, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

            •   A lump sum of $189.53, which represents reimbursement of a State
                of Virginia Medicaid lien, in the form of a check payable jointly to
                petitioner and:

                         Department of Medical Assistance Services
                         Fiscal Division, TPL Unit
                         600 East Broad Street
                         Richmond, VA 23219

                Petitioner agrees to endorse this payment to the State. Stipulation at ¶
                8(a); and

            •   A lump sum of $40,000.00 in the form of a check payable to
                petitioner. Stipulation at ¶ 8(b). This amount represents compensation
                for all remaining items of damages that would be available under 42
                U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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